Case 18-68420-jrs      Doc 6     Filed 11/02/18 Entered 11/02/18 15:20:50             Desc Main
                                  Document     Page 1 of 4


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

  IN RE:                                         )      CHAPTER 13
                                                 )
  MICHELE SMITH,                                 )      CASE NO: 18-68420-JRS
                                                 )
         Debtor/Movant                           )

                               CERTIFICATE OF SERVICE

         This is to certify that I have this day served all parties in the foregoing matter with
  a copy of the foregoing “Order on Motion for Expedited Hearing “ in regard to Debtor’s
  “Motion to Impose Stay” by depositing in the United States Mail (next day delivery), a
  copy of same in a properly addressed envelope with adequate postage thereon upon:

                                WELLS FARGO BANK, N.A.
                      c/o Elizabeth Childers / Lucretia Lashawn Scruggs
                                Shapiro, Pendergast and Hasty
                                          Suite 300
                              211 Perimeter Center Parkway, NE
                                      Atlanta, GA 30346

                                   Wells Fargo Bank, N.A.
                 Attn: Taylor S. Mansell, Attorney for Wells Fargo Bank, N.A.
                                 Default Document Processing
                                          N9286-01Y
                                   1000 Blue Gentian Road
                                   Eagan, MN 55121-7700

                                  Wells Fargo Bank, N.A.
                                c/o A. Michelle Hart Ippoliti
                             McCalla Raymer Liebert Pierce, LLC
                                  1544 Old Alabama Road
                                     Roswell, GA 30076

                                    Wells Fargo Bank, N.A.
                          Attn: Heather A. Bock, Attorney for Creditor
                                 Default Document Processing
                                          N9286-01Y
                                   1000 Blue Gentian Road
                                   Eagan, MN 55121-7700
Case 18-68420-jrs     Doc 6    Filed 11/02/18 Entered 11/02/18 15:20:50           Desc Main
                                Document     Page 2 of 4


                                       Michele Smith
                                    3783 Cressway Drive
                                     Decatur, GA 30034

                               All creditors on attached matrix

         I further certify that I have this day served Nancy J. Whaley, Standing Chapter 13
  Trustee, with a copy of the Motion for Expedited Hearing, via the ECF electronic
  mail/noticing system, and by email to Maria Joyner, staff attorney for the Chapter 13
  Trustee assigned to Judge Sacca’s courtroom, and by email to A. Michelle Hart Ippoliti,
  attorney for Wells Fargo Bank, N.A., whose law firm is conducting the November 6,
  2018 foreclosure.

         This the 2nd day of November, 2018. By:

                                              ________/s/____________________
                                              Michael R. Rethinger
                                              Georgia Bar Number 301215
                                              Attorney for Debtor
  241 Mitchell Street, SW
  Atlanta, GA 30303
   (770) 922-0066
  michael@rethingerlaw.com
                 Casenoticing
Label Matrix for local   18-68420-jrs          Doc 61st Filed
                                                        Franklin11/02/18 Entered 11/02/18 15:20:50
                                                                                            1st Franklin Desc   Main
                                                                                                         Financial Corporation
113E-1                                                   Document
                                                    PO Box 3116         Page 3 of 4         Attn: Administrative Services
Case 18-68420                                        Tucker, GA 30085-3116                       PO Box 880
Northern District of Georgia                                                                     Toccoa, GA 30577-0880
Atlanta
Fri Nov 2 12:25:17 EDT 2018
Belk                                                 Brylane Home                                CCS/First National Bank
PO Box 965028                                        PO Box 182789                               500 E. 60th Street N
Orlando, FL 32896-5028                               Columbus, OH 43218-2789                     Sioux Falls, SD 57104-0478



CW Nexus Credit Card Holdings l, LLC                 Capital One Bank USA NA                     Comenity Bank/BRYLNHME
Resurgent Capital Services                           PO Box 30281                                PO Box 182789
PO Box 10368                                         Salt Lake City, UT 84130-0281               Columbus, OH 43218-2789
Greenville, SC 29603-0368


Credit One Bank                                      DeKalb County Tax Commissioner              Department of Justice, Tax Division
PO Box 98872                                         1300 Commerce Drive                         Civil Trial Section, Southern Region
Las Vegas, NV 89193-8872                             Decatur, GA 30030-3222                      PO Box 14198, Ben Franklin Station
                                                                                                 Washington, DC 20044-4198


Fingerhut                                            First National Bank                         First National Credit
6250 Ridgewood Road                                  500 E 60th St N                             500 N. 60th Street N
Saint Cloud, MN 56303-0820                           Sioux Falls, SD 57104-0478                  Sioux Falls, SD 57104



First Premier Bank                                   (p)GEORGIA DEPARTMENT OF REVENUE            Internal Revenue Service
601 S Minnesota Ave                                  COMPLIANCE DIVISION                         Insolvency Unit
Lyons, SD 57041                                      ARCS BANKRUPTCY                             401 W. Peachtree Steet, NW, Stop 334-D
                                                     1800 CENTURY BLVD NE SUITE 9100             Atlanta, GA 30308
                                                     ATLANTA GA 30345-3202

Internal Revenue Service                             (p)JEFFERSON CAPITAL SYSTEMS LLC            McCalla Raymer Liebert Pierce, LLC
PO Box 7346                                          PO BOX 7999                                 1544 Old Alabama Road
Philadelphia, PA 19101-7346                          SAINT CLOUD MN 56302-7999                   Roswell, GA 30076-2102



Merrick Bank                                         Midland Funding LLC                         New York & Company
PO Box 9201                                          PO Box 2011                                 PO Box 182789
Old Bethpage, NY 11804-9001                          Warren, MI 48090-2011                       Columbus, OH 43218-2789



Office of the Attorney General                       (p)PORTFOLIO RECOVERY ASSOCIATES LLC        Quantum3 Group LLC as agent for MOMA Funding
40 Capitol Sq SW                                     PO BOX 41067                                PO Box 768
Atlanta, GA 30334-9057                               NORFOLK VA 23541-1067                       Kirkland, WA 98083-0788



Quantum3 Group LLC as agent for MOMA Funding         Michael R. Rethinger                        Shapiro, Pendergast and Hasty
PO Box 788                                           Law Offices of Michael R. Rethinger, LLC    211 Perimeter Center Parkway, NE
Kirkland, WA 98083-0788                              241 Mitchell Street, SW                     Atlanta, GA 30346-1305
                                                     Atlanta, GA 30303-3304
Michele Smith    Case 18-68420-jrs           Doc 6TJX Filed 11/02/18 Entered 11/02/18 15:20:50
                                                                                        United StatesDesc   Main
                                                                                                      Attorney
3783 Cressway Drive                                    Document
                                                  PO Box 965015     Page 4 of 4         600 Richard B. Russell Federal Building
Decatur, GA 30034-6998                               Orlando, FL 32896-5015                               75 Ted Turner Drive, SW
                                                                                                          Atlanta, GA 30303-3315


Walmart                                              Wells Fargo Bank, N.A.
PO Box 981400                                        Default Document Processing N9286-01Y
El Paso, TX 79998-1400                               1000 Blue Gentian Road
                                                     Eagan, MN 55121-7700




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue                        Jefferson Capital Systems LLC                        Portfolio Recovery Associates, LLC
Bankruptcy Division                                  PO Box 7999                                          POB 41067
PO Box 161108                                        Saint Cloud, MN 56302-9617                           Norfolk, VA 23541
Atlanta, GA 30321


End of Label Matrix
Mailable recipients      34
Bypassed recipients       0
Total                    34
